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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:17-CR-00188-LJO-SKO
11
                                  Plaintiff,              STIPULATION FOR PROTECTIVE ORDER
12
                            v.
13
     BRYAN LEMONS,                                        COURT: Hon. Lawrence J. O'Neill
14
                                  Defendant.
15

16
            WHEREAS, the discovery in this case involves information related to a confidential informant
17
     who may be subject to threats or physical harm if his/her identity were publicly disclosed (the “Protected
18
     Information”); and
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            WHEREAS, the parties desire to have the Protected Information produced to undersigned
20
     defense counsel;
21
            The parties agree that entry of a stipulated protective order is appropriate.
22
            THEREFORE, Bryan Lemons (“Defendant”), by and through his counsel of record, William S.
23
     Pitman (“Defense Counsel”), and the United States of America, by and through Assistant United States
24
     Attorney Grant B. Rabenn, hereby agree and stipulate as follows:
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            1.      This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of
26
     Criminal Procedure, and its general supervisory authority.
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            2.      This Order pertains to the Protected Information, which will be produced to Defense
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      STIPULATION FOR PROTECTIVE ORDER                    1

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 1 Counsel under a separate Bates number category (“the discovery”). This Order also relates to any verbal

 2 communications between the government and Defense Counsel about the confidential informant.

 3          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 4 documents or other information, verbal or written, that contain Protected Information with anyone other

 5 than Defense Counsel, defense investigators, and support staff. Defense Counsel may permit Defendant

 6 to view un-redacted documents in the presence of his attorney, defense investigators, and support staff.

 7 The parties agree that Defense Counsel, defense investigators, and support staff shall not allow

 8 Defendant to copy Protected Information contained in the discovery.

 9           4.     The discovery and information therein may be used only in connection with the litigation

10 of this case and for no other purpose. The discovery is now and will forever remain the property of the

11 government. Defense Counsel will return the discovery to the government or certify that it has been

12 destroyed at the conclusion of the case.

13          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

14 ensure that it is not disclosed to third persons in violation of this agreement.

15          6.      Defense Counsel shall be responsible for advising Defendant, employees, and other

16 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

17          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

18 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

19 this Order.

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      STIPULATION FOR PROTECTIVE ORDER                    2

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            Case 1:17-cr-00188-JLT-SKO Document 79 Filed 01/04/18 Page 3 of 3

 1          8. Defense Counsel reserves the right to later seek to have the terms of this Order modified or
 2 revoked. Defense Counsel agrees to return the discovery to the Government in its complete form if the

 3
     terms of this Order are modified or revoked if so requested by the United States.
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 6          IT IS SO STIPULATED.

 7
            DATED: December 8, 2017               PHILLIP A. TALBERT
 8                                                United States Attorney
 9                                                By: /s/ Grant B. Rabenn
10                                                GRANT B. RABENN
                                                  Assistant U.S. Attorney
11

12          DATED: December 8, 2017               By: /s/ William S. Pitman
                                                  WILLIAM S. PITMAN
13                                                Attorney for Defendant
14

15 IT IS SO ORDERED.

16      Dated:     January 4, 2018                           /s/ Lawrence J. O’Neill _____
17                                                UNITED STATES CHIEF DISTRICT JUDGE

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      STIPULATION FOR PROTECTIVE ORDER                   3

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